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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-61354-CV-MIDDLEBROOKS

   PROGRESSIVE EXPRESS
   INSURANCE COMPANY,

             Plaintiff,
   v.

   RASIER-DC, LLC, UBER TECHNOLOGIES,
   INC., and KARINA MONASTERIO,

             Defendants.
   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.!

                                       ORDER CLOSING CASE

             THIS CAUSE is before the Court upon the Parties' responses to my Order Requiring Status

   Report. On July 26, 2023, Plaintiff Progressive Express Insurance Company ("Progressive") filed

   its Amended Complaint seeking declaratory judgment. (DE 12); Progressive sought declaratory

  judgment on four counts, two in the alternative. The first count for a declaratory judgment that

   Florida Statute §627.748, Florida's Transportation Network Company ("TNC") Statute, by

   referencing Florida Statute §627.727, Florida's UM/UIM Statute, does not mandate uninsured and

   underinsured motorist ("UM/UIM") insurance coverage. (Id at 10). The second count for

   declaratory judgment was that Progressive's specific policy, which was issued to Defendants

   Rasier-DC, LLC, and Uber Technologies, did not provide UM/UIM coverage to Defendants. (Id

   at 16).

             On September 15, 2023, Defendant/Counterclaimant Karina Monasterio ("Ms.

   Monasterio") filed her Crossclaim against Uber Technologies, Inc. and Rasier-DC, LLC, and

   Counterclaim against Progressive Express Insurance Company. (DE 22). Ms. Monasterio brought
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   one count of declaratory judgment asking that the Court declare that Defendants violated Florida

   Statute §627.727 "and its subparts." (Id at 11).

          The Parties' dispositive motions deadline was January 25, 2024. (DE 14). On January 25,

   2024, Ms. Monasterio filed a Motion for Extension of time to file a cross-motion for summary

   judgment. (DE 32). I found that Ms. Monasterio had not shown diligence to comply with the

   original deadline and declined to extend the deadline for Ms. Monasterio to file a cross-motion for

   summary judgment. (DE 37). The Parties extensively briefed Progressive's Motion for Summary

   Judgment (DE 30, DE 38, DE 41; DE 42). On March 19, 2024, I granted Progressive's Motion

   (DE 52) and entered Final Judgment in its favor (DE 54).

          Given that Ms. Monasterio's Crossclaim and Counterclaim was still technically pending

   but fully adjudicated by virtue of my summary judgment ruling (DE 52), I asked Ms. Monasterio

   to file a Status Report with the Court, advising how she intended to proceed on her pending

   Crossclaim and Counterclaim. On April 1, 2024, Ms. Monasterio filed a Status Report proposing

   that the Parties be granted 20 days to file dispositive Motions on her claims and address whether

   Florida's TNC Statute mandates UM/UIM coverage by virtue of the language of subsection (7)( d)

   of Fla. Stat. §627.748. Ms. Monasterio did not plead the importance of subsection (7)(d) in her

   Crossclaim and Counterclaim. (DE 22). Further, Ms. Monasterio only briefly addressed the

   relevance of subsection (7)(d) of the statute in her lengthy Response to Progressive's Motion for

   Summary Judgment. (DE 38). I therefore analyzed the merits of the subsection and did not find it

   critical to the underlying questions of coverage, ultimately ruling that "Fla. Stat. §627.748 does

   not mandate that Progressive Express Insurance Company provide uninsured and underinsured

   motor vehicle insurance coverage in the Transportation Network Company Commercial Auto

   Policy, Policy Number 06250110-8." (DE 54). Accordingly, Ms. Monasterio's claim for



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   declaratory judgment as plead is already fully adjudicated. Ms. Monasterio is not entitled to an

   additional opportunity to substantively brief the same issues.

          Finally, and perhaps most importantly, it is not apparent that any jurisdiction over this

   matter remains with this Court. On April 19, 2024, Ms. Monasterio filed a Notice of Appeal of my

   Final Judgment in favor of Progressive. (DE 60). "The filing of a notice of appeal is an event of

   jurisdictional significance-it confers jurisdiction on the court of appeals and divests the district

   court of its control over those aspects of the case involved in the appeal." Showtime/The Movie

   Channel, Inc. v. Covered Bridge Condo. Ass'n, Inc., 895 F.2d 711, 713 (11th Cir. 1990) (because

   of the "the confusion which would result from the simultaneous assertion of jurisdiction by two

   courts over the same matter ... the district court in this case was without jurisdiction to dismiss

   this case"). My Final Judgment Order included a declaration on the requirements of Fla. Stat.

   §627.748. (DE 54). I therefore do not have any jurisdiction to further adjudicate the requirements

   of subsection (7)(d) of that very statute. I also do not have jurisdiction to dismiss Ms. Monasterio' s

   Crossclaim and Counterclaim, which I was inclined to do having found that it is fully adjudicated.

   Accordingly, I will close the case while Ms. Monasterio's Crossclaim and Counterclaim remains

   technically pending. Upon any entry of judgment from the Eleventh Circuit, Ms. Monasterio may

   file a motion to· reopen the case and assert any remaining arguments then. Though without a

   mandate from the Eleventh Circuit otherwise, Ms. Monasterio is forewarned that I believe her

   claim to be resolved.

          Accordingly, it is ORDERED AND ADJUDGED that:

           1) The Clerk of Court shall CLOSE TIDS CASE.




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            2) The Clerk of Court shall DENY all pending motions as MOOT.

         SIGNED in Chambers at West Palm Beach, Florida, thi✓day ofMay, 2024.




                                                                 Donald M. Middlebrooks
                                                                 United States District Judge

   cc:      Counsel of Record




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